                Case 3:18-cv-00461-RCJ-WGC Document 4 Filed 10/08/18 Page 1 of 2
                  Case 3:18-cv-00461-RCJ-WGC                  Document 2 Filed 10/01/18 Page 1 of 2



   AO 440 (Rev,06/12) Summonsin a Civil Action


                                      UNITED STATES DIS1RICT COURT
                                                                for the
                                                          District of Nevada

                  Michael Erwine, an Individual,                  )
                                                                  )
                                                                  )
                                                                  )
                             Plaintiff(s}                         )
                                                                  )
                                 v.                                       CivilActionNo. 3:18-cv-00461
                                                                  )
   Churchill County, a polltlcal subdivisionof the State of       )
       Nevada;and DOES 1 through 10, inclusive,
                                                                  )
                                                                  )
                                                                  )
                            Defendanl(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

   To· /D ,r,    d, t'        d dd ,I CHURCHILLCOUNTY, a political subdivision of the State of Nevada; and DOES 1
      • 1'   eien an s name an a ress; through 10, inclusive, c/o Pete Olsen, Chairman of the Board, Churchlll County
                                        Commissionerslocated at 155 North Taylor Street, Suite 110, Fallon, Nevada 89406




              A lawsuit has been filed against you.

           Within21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3)-youmust serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
   whose name and address are:
                                       Jason D. Guinasso, Esq.
                                       Hutchinson& Steffen, PLLC
                                       500 Damonte Ranch Parkway,Suite 980
                                       Reno, Nevada 89521



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the comt.

 DEBRA K. KEMPI                                                    October 1, 2018
                                                                      DA'IE


(By) DEPUTYCI.ERK
            Case 3:18-cv-00461-RCJ-WGC Document 4 Filed 10/08/18 Page 2 of 2



                                               UNITED STATES DISTRICT COURT
 2

 3   Michael Erwine, an individual,
                       Plaintiff(s),
 4            vs.                                                  CASE NO:      3:18-cv-00461
     Churchill County, a political subdivision of the State
 5   of Nevada,
                       Defendant(s),
 6

 7
                                              DECLARATION OF SERVICE
 8
     STATE OF NEVADA
     COUNTY OF Washoe                  SS.;
 9

     Jeff Hopkins, being duly sworn says: That at all times herein Affiant was and is a citizen of the United States, over 18
10
     years of age, and not a party to nor interested in the proceedings in which this Affidavit is made.

11
     That Affiant received copy(ies) of the SUMMONS IN A CIVIL ACTION; COMPLAINT; CIVIL COVER SHEET On
     10/3/2018 and served the same on 10/5/2018 at 3:19 PM by delivery and leaving a copy with:
12
      By then and there personally delivering a true and correct copy of the documents into the hands of and leaving with
13    Pamela Moore whose title is Admin assistant.

14    Served on behalf of Churchill County, a political subdivision of the state of Nevada c/o Pete Olsen, Chairman of
      the Board, Churchill County Commissioners
15
      Service Address: Churchhill County Commissioners -155 N Taylor SlSte 110 ·, Fallon, NV 89406-2763
16       A description of Pamela Moore Is as follows
      Gender     Color of Skin/Race          Hair                    Age         Height            Weight
17     Female       White                          Auburn            51-55       5'1 - 5'6          161-180 Lbs

18
      Pursuant to NRS 239B.030 this document does not contain the social security number of any person.
19
      Affiant does hereby affirm under penalty of perjury under the law of the State of Nevada that the
      foregoing is true and correct.
20
      Executed on: 10/7/2018
21    by Jeff Hopkins
      Registration: R-2018-03739
22    No notary is required per NRS 53.045

23

24
                                                                             ~~j
                                                              x-------=-----------
                                                              Jeff Hopkins
25
                                                              Registration: R-2018-03739
                                                              Reno Carson Messenger Service, Inc #322
26
                                                              185 Martin St.
                                                              Reno, NV 89509
27
                                                              (775) 322-2424
                                                              www.renocarson.com
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                                                                                                 Order#: R49542 NVPRF411
